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                          No. 23-______________
        IN THE UNITED STATES COURT OF APPEALS
               FOR THE ELEVENTH CIRCUIT

                         IN RE RICARDO DAVIS,
                                 Petitioner,

On Petition for Writ of Mandamus to the United States District Court
          for the North District of Georgia, Atlanta Division

          Donna Curling, et al. v. Brad Raffensperger, et al.
           No. 1:17-cv-2989-AT – Amy Totenberg, Judge


              PETITION FOR WRIT OF MANDAMUS


              RELIEF NEEDED BY JANUARY 8, 2024



                           David E. Oles, Sr.
                     Law Offices of David E. Oles
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                   ATTORNEY FOR PETITIONER




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                CERTIFICATE OF INTERESTED PERSONS

      Pursuant to 11th Circuit Rule 21.1 and 26.1, I certify the following

is an alphabetical list of all trial judges, attorneys, persons, firms,

partnerships and corporations with any known interest in the outcome

of this appeal:

1.    Abney, Russell T.: Counsel for Amicus Electronic Privacy

      Information Center.

2.    Abrams for Governor: Objector in the underlying case.

3.    Adams, Kimberly M. Esmond: Fulton Superior Court, Judge.

4.    Alan Butler: Counsel for Amicus Electronic Privacy Information

      Center.

5.    Altshuler Berzon, LLP: Counsel for Amicus Common Cause.

6.    Andreu-von Euw, Christian G.: Counsel for Plaintiffs.

7.    Ardoin, R. Kyle: Secretary of State of the State of Louisiana and

      former Proposed Intervenor.

8.    Ascarrunz, Veronica: Counsel for Plaintiffs.

9.    Baconton Missionary Baptist Church, Inc.: Objector in the

      underlying case.




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10.   Balli, James A.: Former counsel for Defendant, terminated

      11/17/2022.

11.   Barnes: Roy E.: Former counsel for former defendant Secretary of

      State, Brian P. Kemp, and State Election Board Members,

      terminated on 2/15/2019.

12.   Barron, Richard: Former defendant in underlying case.

13.   Bedard, Edward A.: Counsel for Defendant.

14.   Belinfante, Joshua Barrett: Counsel for Defendant.

15.   Bentrott, Jane P.: Former counsel for Plaintiffs, terminated on

      8/28/2020.

16.   Berzon, Stephen P.: Counsel for Amicus Common Cause.

17.   Blitch IV, Pierce Groover: Counsel for Movant Hancock County

      Board of Elections and Registration.

18.   Bondurant Mixson & Elmore, LLP: Former counsel for Plaintiffs.

19.   Brady, Robert: Objector in the underlying case.

20.   Bridges, Agnes: Objector in the underlying case.

21.   Brimer, Marcie: Former counsel for Plaintiffs, terminated on

      8/28/2020.




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22.   Brody, David R.: Former counsel for Plaintiffs, terminated on

      01/08/2021.

23.   Brogan, Eileen M.: Former counsel for Plaintiffs, terminated on

      07/09/2021.

24.   Brooks, Jessica: Former defendant in underlying case, terminated

      on 6/13/2018.

25.   Brown, Bruce P.: Counsel for Plaintiffs.

26.   Bruce P. Brown Law: Counsel for Plaintiffs.

27.   Bryan, Bennett Davis: Former counsel for former defendant in

      underlying case, DeKalb County, terminated 06/13/2018.

28.   Burge, David J.: Former defendant in underlying case.

29.   Burton, Robert D.: Former counsel for Defendant, terminated

      01/18/2022.

30.   Burwell, Kaye Woodard: Counsel for former defendant Fulton

      County in underlying case.

31.   Butler, Alan Jay: Counsel for Amicus Electronic Privacy

      Information Center.

32.   Caldwell, Joe Robert, Jr.: Former counsel for Plaintiffs,

      terminated on 11/29/2017.


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33.   Campbell, Benjamin E.: Counsel for Plaintiffs.

34.   Capriola, Richard J.: Counsel for Respondent Paul V. Maggio.

35.   Care in Action, Inc.: Objector in the underlying case.

36.   Carlin, John P.: Former counsel for Plaintiffs, terminated

      01/11/2021.

37.   Chapple, Catherine L.: Former counsel for Plaintiffs, terminated

      on 8/28/2020.

38.   Cheeley Law Group, LLC: Former counsel for Respondent

      Cathleen Alston Latham.

39.   Cheeley, Robert D.: Former counsel for Respondent Cathleen

      Alston Latham, terminated 09/05/2023.

40.   Cino, Jessica G.: Counsel for Plaintiffs.

41.   Clark, Bryan: Counsel for former Proposed Intervenor Herring

      Networks, Inc.

42.   Coalition for Good Governance: Plaintiff.

43.   Cobb County Attorney’s Office: Former counsel for former

      defendants Cobb County in underlying case, terminated on

      11/3/2017.




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44.   Coffee County Board of Elections: Former movant in the

      underlying case.

45.   Coleman, Eric B.: Counsel for Respondent Paul V. Maggio.

46.   Common Cause: Amicus in the underlying case.

47.   Conarck, Jacob Paul: Former counsel for Plaintiffs, terminated

      01/08/2021.

48.   Constantine Cannon LLP: Counsel for Plaintiffs.

49.   Cooney, Mary Carole: Former defendant in the underlying case.

50.   Correia, Cristina: Former counsel for former defendant Brain P.

      Kemp and State Election Board Members, terminated on

      11/3/2017.

51.   Coveny, Michael P.: Former defendant in the underlying case,

      terminated on 6/13/2018.

52.   Cross, David D.: Counsel for Plaintiffs.

53.   Crumly, Jonathan Dean, Sr.: Former counsel for Defendant,

      terminated 11/17/2022.

54.   Curling, Donna: Plaintiff.

55.   Daniell, Phil: Former defendant in the underlying case,

      terminated on 6/13/2018.


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56.   Daniels, Maxine: Former defendant in the underlying case,

      terminated on 6/13/2018.

57.   Daniels, Douglas A.: Former counsel for former Proposed

      Intervenor Michael J. Lindell, terminated 03/30/2022.

58.   Daniels & Tredennick PLLC: Former counsel for former Proposed

      Intervenor Michael J. Lindell.

59.   Davis, Deborah J.: Proposed Intervenor.

60.   Davis, Ricardo: Plaintiff.

61.   Denton, Alexander Fraser: Counsel for Defendant.

62.   DeKalb County District Attorney’s Office: Former counsel for

      former defendant DeKalb County.

63.   Digges, Laura: Plaintiff.

64.   Digges, William, III: Plaintiff.

65.   Duane Morris LLP: Counsel for former Proposed Intervenor

      Newsmax, Inc.

66.   Duffey Jr., William S.: Former Chair of the Georgia State Election

      Board and former Defendant.

67.   Ebenezer Baptist Church of Atlanta, Georgia, Inc.: Objector in the

      underlying case.


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68.   Edmondson, Anna N.: Counsel for Defendant.

69.   Electronic Privacy Information Center: Amicus in the underlying

      case.

70.   Elson, Hannah R.: Former counsel for Plaintiffs, terminated

      11/27/2023.

71.   Eveler, Janine: Former defendant and Director of the Cobb

      County Board of Elections and Registration, terminated on

      6/13/2018.

72.   Fair Fight Action, Inc.: Objector in the underlying case.

73.   Ferrer Poirot & Wansbrough-GA: Counsel for Amicus Electronic

      Privacy Information Center.

74.   Fisher, Ramsey W.: Counsel for Plaintiffs.

75.   Fleming & Nelson, LLP: Counsel for Movant Hancock County

      Board of Elections and Registration.

76.   Flores, Rommy L.: Former counsel for Plaintiffs, terminated

      12/10/2021.

77.   Fortalice Solutions, LLC: Respondent.

78.   Fox News Network, LLC: Former Proposed Intervenor.




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79.   Fuchs, Zachary D.: Former counsel for Plaintiffs, terminated

      06/21/2022.

80.   Georgia Department of Law: Counsel for former Secretary of

      State, defendant Brain P. Kemp and State Election Board

      Members.

81.   Ghazal, Sara T.: Member of the Georgia State Election Board and

      Defendant.

82.   Glover, Joel R.: Former counsel for former Proposed Intervenor

      Fox News Network, LLC, terminated 07/05/2022.

83.   Gwinnett County Department of Law: Counsel for Kristi L.

      Royston, Objector in the underlying case.

84.   Hall Booth Smith: Counsel for Respondent Coffee County Board of

      Elections.

85.   Hancock County Board of Elections and Registration: Movant in

      underlying case.

86.   Handel, Karen C.: Former defendant in underlying case,

      terminated on 9/28/2017.

87.   Harding, Todd A.: Former counsel for Plaintiff Ricardo Davis,

      terminated 12/017/2023.


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88.   Harding Law Firm, LLC: Former counsel for Plaintiff Ricardo

      Davis, terminated 12/017/2023.

89.   Harp, Seth: Former Member of the Georgia State Election Board.

90.   Havian, Eric R.: Former counsel for Plaintiffs, terminated

      03/11/2022.

91.   Hayne Litchfield Crane & White: Former counsel for former

      defendant in underlying case, DeKalb County.

92.   Hedgecock, Lyle F.: Counsel for Plaintiffs.

93.   Heidt, Josiah Benjamin: Former counsel for former Secretary of

      State, Brain P. Kemp and State Election Board Members,

      terminated on 11/3/2017.

94.   Hendrix, Barclay: Former counsel for former defendant in the

      underlying case, Karen C. Handel.

95.   Herring Networks, Inc.: Former Proposed Intervenor.

96.   Highsmith, Robert S.: Former counsel for former defendant in the

      underlying case, Merle King.

97.   Hilbert, Kurt R.: Counsel for former Proposed Intervenor My

      Pillow Inc.




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98.   Holcomb + Ward, LLP: Former counsel for Plaintiffs, terminated

      on 2/5/2018.

99.   Holden, Deirde: Objector in the underlying case.

100. Holland & Knight LLP: Former counsel for former defendant in

      the underlying case, Merle King.

101. Ichter, Cary: Counsel for Plaintiffs.

102. Ichter Davis, LLC: Counsel for Plaintiffs.

103. Jackson-Fannin, Julian A.: Counsel for former Proposed

      Intervenor Newsmax, Inc., terminated 08/11/2022.

104. Jackson Walker L.L.P.: Counsel for former Proposed Intervenor

      Fox News Network, LLC

105. Jacoutot, Bryan Francis: Counsel for Defendant.

106. Jarrard & Davis, LLP: Counsel for Ameika Pitts, Objector in the

      underlying case.

107. Jihadi, Wail: Counsel for Plaintiffs.

108. Johnson, Aaron: Defendant in underlying case.

109. Johnson, Laura K.: Former counsel for former defendant DeKalb

      County.

110. Johnson, Melanie L.: Counsel for Defendant.


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111. Johnston, Janice W.: Member of the Georgia State Election Board

     and Defendant.

112. Jon L. Schwartz, Attorney at Law, P.C.: Former Counsel for

     Amicus Common Cause, terminated 10/01/2020 and counsel for

     Amicus National Election Defense Coalition and Protect

     Democracy.

113. Jones Walker, LLP: Counsel for former Proposed Intervenor R.

     Kyle Ardoin.

114. Joseph, Oluwasegun: Counsel for Plaintiffs.

115. Kaiser, Mary G.: Counsel for Plaintiffs.

116. Kastorf, Kurt G.: Counsel for Objectors Care in Action, Inc,

     Ebenezer Baptist Church of Atlanta, Georgia, Inc., Fair Fight

     Action, Inc., Sixth Episcopal District Inc., Virginia Highland

     Church, Inc., Abrams for Governor, and Baconton Missionary

     Baptist Church, Inc.

117. Keller, Scott A.: Counsel for former Proposed Intervenor Fox News

     Network, LLC, terminated 08/11/2022.

118. Kemp, Brian P.: Former Secretary of State and former defendant

     in the underlying case, terminated on 4/9/2019.


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119. Kidd, Milton: Objector in the underlying case.

120. Kimrey, Blaine C.: Counsel for former Proposed Intervenor

     Herring Networks, Inc., terminated 08/11/2022.

121. King, Merle: Executive Director of the Center for Election Systems

     at Kennesaw State-former defendant in the underlying case,

     terminated on 6/13/2018.

122. Kinsley, Nicholas A.: Counsel for Respondent Coffee County Board

     of Elections.

123. Kirk, Joseph: Objector in the underlying case.

124. Knapp, Halsey G., Jr.: Counsel for Plaintiffs.

125. Koechley, Julia L.: Counsel for former Proposed Intervenor

     Herring Networks, Inc.

126. Krevolin & Horst, LLC: Counsel for Plaintiffs.

127. Krugman, Edward B.: Former counsel for Plaintiffs.

128. Lake, Brian Edward: Former counsel for Defendant, terminated

     04/25/2023.

129. LaRoss, Diane Festin: Counsel for Defendant.

130. Latham, Cathleen A.: Former Movant in the underlying case.




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131. Lawyers’ Committee for Civil Rights Under Law: Counsel for

     Plaintiffs.

132. Law Office of David E. Oles: Counsel for Petitioner Ricardo Davis.

133. Le, Anh: Former member of the Georgia State Election Board and

     former Defendant.

134. Lehotsky Keller Cohn LLP: Counsel for former Proposed

     Intervenor Fox News Network, LLC.

135. Lewis, Anthony: Former defendant in the underlying case,

     terminated on 6/13/2018

136. Leyton, Stacey M.: Former counsel for Amicus Common Cause,

     terminated 10/01/2020.

137. Lim, Marvin: Former counsel for Plaintiffs, terminated on

     12/21/2017.

138. Lindell, Michael J.: Former Proposed Intervenor.

139. Lindenbaum, Dara: Counsel for Objectors Care in Action, Inc,

     Ebenezer Baptist Church of Atlanta, Georgia, Inc., Fair Fight

     Action, Inc., Sixth Episcopal District Inc., Virginia Highland

     Church, Inc., Abrams for Governor, and Baconton Missionary

     Baptist Church, Inc.


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140. Lindsey, Edward: Defendant and Member of the Georgia State

     Election Board.

141. Lowman, David R.: Counsel for former defendant Fulton County

     in underlying case.

142. Maggio, Paul V.: Former movant in the underlying case.

143. Maguire, Joseph M.: Counsel for Respondent U.S. Dominion, Inc.

144. Manoso, Robert W.: Counsel for Plaintiffs.

145. Martino-Weinhardt, Matthaeus H.: Counsel for Plaintiffs.

146. Mashburn, Matthew: Defendant and Member of the Georgia State

     Election Board.

147. Matarazzo, Stan: Former defendant in underlying case,

     terminated 09/15/2017.

148. McGuire III, Robert Alexander: Counsel for Plaintiffs.

149. Middleton, Caroline L.: Former counsel for Plaintiffs, terminated

     11/27/2023.

150. Miller, Carey Allen: Counsel for Defendant.

151. Miller, J. Britten: Amicus curiae.

152. Missett, Megan: Plaintiff.




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153. Monyak, Elizabeth Ahern: Former counsel for former defendant

     Cobb County.

154. Morrison & Foerster, LLP-DC: Counsel for Plaintiffs.

155. Murray, Matthew J.: Former counsel for Amicus Common Cause,

     terminated 10/01/2020.

156. My Pillow Inc.: Former Proposed Intervenor.

157. Nally, Paul L.: Amicus curiae.

158. National Election Defense Coalition: Amicus in the underlying

     case.

159. Newsmax, Inc.: Former Proposed Intervenor.

160. Ney Hoffecker Peacock & Hayle, LLC: Counsel for Plaintiffs.

161. Ney, William Brent: Counsel for Plaintiffs.

162. Ney Rhein, LLC: Counsel for Plaintiffs.

163. Novosad, Heath: Former counsel for former Proposed Intervenor

     Michael J. Lindell.

164. Nuriddin, Vernetta: Former Defendant.

165. Office of Fulton County Attorney: Counsel for former defendant

     Fulton County in underlying case.

166. Oles, David E.: Counsel for Petitioner Ricardo Davis.


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167. Ossoff, Thomas Jonathan: Former interested party in underlying

     case, terminated 09/28/2017.

168. Paradise, Loree Anne: Former counsel for Defendant, terminated

     10/03/2022.

169. Park, Jeanah: Counsel for former Proposed Intervenor Herring

     Networks, Inc.

170. Parker, Andrew D.: Counsel for former Proposed Intervenors My

     Pillow, Inc. and Michael J. Lindell.

171. Parker Daniels Kibort, LLC: Counsel for former Proposed

     Intervenors My Pillow, Inc. and Michael J. Lindell.

172. Parks, Chesin & Walbert, P.C.: Counsel for Respondent U.S.

     Dominion, Inc.

173. Peeler, Charles E.: Counsel for former Proposed Intervenor Fox

     News Network, LLC.

174. Perry, Leona: Former defendant in underlying case, terminated on

     6/13/2018.

175. Pettit, Joe: Former defendant in underlying case, terminated on

     6/13/2018.




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176. Phillips, James Jayson: Counsel for Objectors Joseph Kirk and

     Deidre Holden.

177. Phillips, Terry G.: Former counsel for former defendant in

     underlying case, DeKalb County.

178. Pico-Prats, Javier: Counsel for Defendant.

179. Pierson, Holly A.: Former counsel for Respondent Cathleen Alston

     Latham, terminated 08/31/2023.

180. Pierson Law LLC: Former counsel for Respondent Cathleen

     Alston Latham, terminated 08/31/2023.

181. Pitts, Ameika: Objector in the underlying case.

182. Porter, Reiley J.: Counsel for Plaintiffs.

183. Powers, John Michael: Former counsel for Plaintiffs, terminated

     01/08/2021.

184. Price, Donna: Plaintiff.

185. Protect Democracy: Amicus in the underlying case.

186. Pull, Joseph A.: Counsel for former Proposed Intervenors My

     Pillow, Inc. and Michael J. Lindell.

187. Raffensperger, Brad: Secretary of State of the State of Georgia

     and Defendant.


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188. Ringer, Cheryl: Counsel for former defendant Fulton County in

     underlying case.

189. Robbins Ross Alloy Belinfante Littlefield LLC: Counsel for

     Defendant.

190. Robert McGuire Law Firm: Counsel for Plaintiffs.

191. Robin, Kenneth Paul: Counsel for Objector Ameika Pitts.

192. Rockdale County Board of Elections and Registration: Objector in

     the underlying case.

193. Rosenberg, Ezra David: Former counsel for Plaintiffs, terminated

     01/08/2021.

194. Rowan, Nancy L.: Counsel for former defendants Fulton County

     Board of Registration and Elections, Richard Barron, Mark

     Wingate, and Kathleen D. Ruth.

195. Royston, Kristi L.: Objector in the underlying case.

196. Russo, Vincent Robert, Jr.: Counsel for Defendant.

197. Ruth, Kathleen D.: Former defendant in the underlying case.

198. Salter, John Frank, Jr.: Former counsel for former Secretary of

     State, Brain P. Kemp and State Election Board Members,

     terminated on 2/15/2019.


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199. Sandler Reiff Lamb Rosenstein & Birkenstock, P.C.: Counsel for

     Objector Care in Action, Inc.

200. Scheinman, Aaron H: Counsel for Plaintiffs.

201. Schnell, Grant Edward: Former counsel for former defendant in

     the underlying case, Merle King.

202. Schoenberg, Jeffrey: Plaintiff.

203. Schwartz, Edward Bruce: Former counsel for Plaintiffs,

     terminated on 11/29/2017.

204. Schwartz, Jonathan Lee: Former Counsel for Amicus Common

     Cause, terminated 10/01/2020 and counsel for Amicus National

     Election Defense Coalition and Protect Democracy.

205. Simpson, Ralph F.: Former Member of the Georgia State Election

     Board.

206. Sixth Episcopal District, Inc.: Objector in the underlying case.

207. Sparks, Adam Martin: Counsel for Plaintiffs.

208. Squire Patton Boggs: Counsel for former defendants Fulton

     County Board of Registration and Elections, Richard Barron,

     Mark Wingate, and Kathleen D. Ruth.

209. Steptoe & Johnson-DC: Counsel for Plaintiffs.


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210. Stillman Welch, LLC: Counsel for former Proposed Intervenor

     Herring Networks, Inc.

211. Strickland Brockington Lewis, LLP: Former counsel for former

     defendant Karen C. Handel.

212. Strickland, Frank B.: Former counsel for former defendant Karen

     C. Handel.

213. Sugarman, F. Skip: Counsel for Amicus Common Cause.

214. Sugarman Law LLP: Counsel for Amicus Common Cause.

215. Sullivan, Rebecca N.: Member of the Georgia State Election Board

     and Defendant.

216. Swanbeck, Sonja N.: Counsel for Plaintiffs.

217. Talley Richardson & Cable, P.A.: Counsel for Objector Joseph

     Kirk.

218. Talmor, Kate: Counsel for United States of America.

219. Taylor English Duma LLP: Counsel for Defendant.

220. Tepfer, Cameron A.: Former counsel for Plaintiffs, terminated on

     9/3/2019.

221. Terry, Edward Curtis: Former plaintiff in the underlying case,

     terminated on 3/20/2018.


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222. The Barnes Law Group, LLC: Former counsel for former Secretary

     of State, Brain P. Kemp and State Election Board Members,

     terminated on 2/15/2019.

223. The Business Litigation Group, P.C.: Counsel for Plaintiffs.

224. The Center for Election Systems at Kennesaw State University:

     Former defendant in the underlying case, terminated on

     9/15/2017.

225. The Cobb County Board of Elections and Registration: former

     defendant in the underlying case, terminated on 6/13/2018

226. The Dekalb County Board of Registrations and Elections: Former

     defendants in the underlying case, terminated on 6/13/2018

227. The Fulton County Board of Registration and Elections: Former

     defendant in the underlying case.

228. The Hilbert Law Firm, LLC: Counsel for former Proposed

     Intervenors My Pillow Inc. and Michael J. Lindell.

229. The State Election Board: Defendant.

230. Theriot, Chad V.: Counsel for former Proposed Intervenor R. Kyle

     Ardoin.




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231. Tillman, Samuel E.: Former defendant in the underlying case,

     terminated on 6/13/2018.

232. Totenberg, Hon. Amy: Judge in underlying case, United States

     District Court for the Northern District of Georgia.

233. Troutman Pepper Hamilton Sanders LLP: Counsel for former

     Proposed Intervenor Fox News Network, LLC.

234. Tyson, Bryan P.: Counsel for Defendant.

235. U.S. Dominion, Inc.: Respondent in underlying case.

236. Vedder Price, P.C.: Counsel for former Proposed Intervenor

     Herring Networks, Inc.

237. Virginia-Highland Church, Inc.: Objector in the underlying case.

238. Vu, Baoky N.: Former defendant in the underlying case,

     terminated on 6/13/2018.

239. Waldon Adelman Castilla Hiestand & Prout: Former counsel for

     former interested party Thomas Jonathan Ossoff.

240. Waldon, Russell: Former counsel for former interested party

     Thomas Jonathan Ossoff.

241. Ward, Bryan Myerson: Former counsel for Plaintiffs, terminated

     on 2/5/2018.


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242. Watts Guerra LLP: Counsel for Amicus Electronic Privacy

     Information Center.

243. Webb, Wheaton: Counsel for former Proposed Intervenor Fox

     News Network, LLC.

244. Welch, T. Brandon: Counsel for former Proposed Intervenor

     Herring Networks, Inc.

245. White, Daniel Walter: Former counsel for former defendant

     DeKalb County.

246. White-Davis, Angela: Objector in the underlying case.

247. Wiesebron, Tamara R.: Counsel for Plaintiffs.

248. Winter Capriola Zenner, LLC: Counsel for Respondent Paul V.

     Maggio.

249. Wilson, Darryl O.: Former defendant in the underlying case,

     terminated on 6/13/2018.

250. Wilson, Melanie Felicia: Counsel for Kristi L. Royston, Objector in

     the underlying case.

251. Wingate, Mark: Former defendant in the underlying case,

     terminated on 6/13/2018.




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252. Worley, David J.: Former of the Georgia State Election Board and

     Defendant.

253. Wright, Aaron: Former counsel for Plaintiffs, terminated on

     12/21/2017.




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          STATEMENT REGARDING ORAL ARGUMENT

     Although the issues involved in this petition are important to

petitioner’s interests, this Court can issue relief without holding oral

argument because the district court’s error is evident under this Court’s

precedent. Should the Court wish to hold argument, however, the

petitioner requests the opportunity to participate.




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                             In Re Davis, et al.
                            No. 23-______________


                             INTRODUCTION

     Petitioner Ricardo Davis seeks a writ of mandamus to correct the

district court’s error in denying Petitioner Davis’ attempts in good cause

and without prejudice to supplement the proposed pretrial order with

directly relevant and previously-discovered evidence supporting all

Plaintiffs’ constitutional claims.

     This case has been pending for nearly six years. As the district

court recently affirmed in its order denying in part Defendant’s motion

for summary judgment, the case focuses on “whether Georgia’s

statewide electronic voting system, as currently designed and

implemented, suffers from major cybersecurity deficiencies that

unconstitutionally burden Plaintiffs’ First and Fourteenth Amendment

rights and capacity to case effective votes that are accurately counted.”

Exh. 4, p. 1-21 The District Court concluded that a sufficient question of


1
 Pursuant to Fed. R. App. 21(a)(2)(C), relevant documents in the
district court record are attached as exhibits to this petition. A
reference list of these exhibits is included as Addendum 1 at the end of
this petition. References within the petition shall be to the exhibit
number followed by the page number that appears in the header
generated by the district court’s electronic filing system. References to
transcripts, however, refer to the page number assigned by the court
reporter.
                                     -1-
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fact existed as to “Plaintiffs’ claim that Georgia’s current BMD voting

system imposes a severe constitutional burden on their right to have

their votes accurately counted as cast.” to proceed to trial. Ex. 4, p. 120

Indeed, this broad claim has been a central focus of this electronic

voting system case since its inception in 2017.

     The parties submitted a proposed pretrial order on December 11,

2023. A mere four days later Petitioner Davis sought pursuant to Rule

16 to amend the proposed pre-trial order, adding as witnesses two

previously deposed fact witnesses who could provide firsthand evidence

rebutting Defendants argument that Petitioner’s claims of voting

system vulnerabilities were speculative.2 These fact witnesses will

testify about their personal observations showing that, far from being

speculative, Georgia’s voting system was vulnerable to remote access

during live elections and actually remotely accessed and reconfigured

(i.e., hacked) on the night of January 5, 2021. Ex. 8, p.3 Currently,




2
 Plaintiff originally sought to substitute counsel on November 29, 2023.
Exh. 13



                                  2
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none of the witnesses proposed for trial can provide testimony on this

matter. Exh. 8, p.1 And, since these witnesses were previously deposed

in this case, there can be no prejudice or delay caused by the inclusion

of these two witnesses at trial. Ex. 2; Ex. 3

      In addition to the two witnesses, Mr. Davis also sought to add

limited, designated depositions from no more than four deposed

witnesses who were already on the extensive Joint Plaintiffs Witness

List and who provided non-duplicative statements directly relevant to

the constitutional deficiency issues set for trial on January 9, 2024. Ex.

8, p. 4

      Defendants filed no opposition to Mr. Davis’ request, which was

carefully tailored so as not to cause delay in the trial that he, other

Plaintiffs, and the Defendants have long sought. Ex. 8, p. 5

      The district court’s order denying the motion of Mr. Davis was

based largely on extra judicial authority and statements of conjecture




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and speculation rather than the record recognized by Mr. Davis.3

Indeed, in denying the motion of Mr. Davis, as discussed below, the

district court incorrectly circumscribed Plaintiff’s claims as a

justification to deny the motion of Mr. Davis. Such limitations will

result in an incomplete record at trial and as such would also be a basis

for an appeal of an adverse judgment.

     As a result of the District Court’s ruling, Petitioner will be denied

his opportunity to present the evidence Petitioner believes will best

support his contentions at trial. For these reasons and more, the

district court’s order as it affects Petitioner should be vacated and the

pretrial order amended to include Petitioner’s evidence so that a

complete presentation of Petitioners’ claims and evidence in keeping the

issues set for trial can be made.

                  STATEMENT OF JURISDICTION


3
 For example, the Court appeared to presume Mr. Lenberg could know
nothing beyond the questions posed by Defendants at deposition. Ex.
10, p.11 The Court further erroneously concluded both of their
combined testimony was based solely on statements by a third party.
Id.



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     This Court has jurisdiction to issue a writ of mandamus under the

All Writs Act, 28 U.S.C. § 1651(a); see also In re United States, 985 F.2d

510, 511–12 (11th Cir. 1993).

                 ISSUE PRESENTED FOR REVIEW

1.    Whether the District Court abused its discretion when it excluded

      Petitioner’s fact witnesses and deposition designations from the

      pretrial order, by erroneously relying upon extra-judicial

      authority based on statements of speculation and conjecture

      rather than facts presented in Petitioner Davis’ motion?

                     STATEMENT OF THE CASE

     Mr. Davis is an original plaintiff in this six-year-old case that was

filed in 2017 regarding the lack of security and integrity in Georgia’s

original Diebold Direct Recording Electronic (DRE) voting system. Since

their key claims were upheld in 2019, the focus of the case has involved

the security and integrity of the newer Ballot Marking Device system

acquired by the Defendants in 2019 from Dominion Voting Systems.

(the “Dominion BMD System”). Ex. 4, p.29-32




                                  5
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     As the State Defendants’ Mandamus explains, all Plaintiffs’

central claims in this case contend that Georgia’s use of the Dominion

BMD System imposes a severe constitutional burden on their right to

have their votes accurately counted as cast. Ex. 11, p.32 Plaintiffs

claim that the Dominion BMD System is vulnerable to hacking that

could, without voters’ knowledge, thereby change the vote that is

actually tabulated.4 See, e.g., Exh. 1, p. 53; Exh. 11, p.32; Exh. 4, pp. 34,

42 Accordingly, Plaintiffs seek to enjoin the Secretary from using this

electronic voting system chosen by its elected officials because they

contend that these alleged vulnerabilities constitute an unconstitutional

burden on the right to vote.

     On December 11, 2023, the Plaintiffs and Defendants submitted

by consent a Proposed Pre Trial Order for entry by the Court. Exh. 5.

Discovering that the order was submitted without his knowledge, and

aware that his current counsel could be absent during trial due to




4
 Indeed, Defendants claim that Plaintiffs have not shown any actual
evidence of manipulation. [emphasis in the original] Exh. 11, p. 33



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medical causes, Petitioner Davis entered an appearance of new counsel

on December 13, 2023. Ex. 6; Ex. 7. On December 14, 2023, Petitioner

Davis submitted a motion to amend the consent Proposed Pre Trial

Order to include two witnesses, and additional deposition designations,

he felt were essential to the success of his case. Ex. 8

     Specifically, Petitioner Davis sought to amend the Proposed Pre

Trial Order to add two (2) fact witnesses, Ben Cotton and Jeffrey

Lenberg, who have previously been deposed so that he could present

their testimony showing the Court non-speculative, non-duplicative

evidence of constitutional deficiencies in Georgia’s Dominion BMD

Voting System. Ex. 8, p.2. Neither witness had been listed as a witness

for Plaintiff in Attachment C-1 to the consent proposed pretrial order.

     Petitioner believed the witnesses would show firsthand forensic

evidence of actual security vulnerabilities and irregular access to the

system on January 5, 2023, regarding a ballot scanning rejection

problem and reconfiguration without physical access to the scanner or

server equipment. Ex. 8, p. 3.




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     The Court conducted a Pre Trial Conference on December 15,

2023, at which the Court heard argument on Petitioner Davis’ motion,

following which it entered an Order on December 20, 2023, DENYING

Petitioner’s motion to amend the pretrial order and excluding the

testimony and deposition designations the Petitioner sought to present

at trial. Ex. 10, p. 10-13

                       STANDARD OF REVIEW

     “Mandamus is an extraordinary remedy, and it is appropriate only

when ‘no other adequate means are available to remedy a clear

usurpation of power or abuse of discretion by the district court.” In re

USA, 624 F.3d 1368, 1372 (11th Cir. 2010) (quotations omitted).

III. ARGUMENT AND CITATION OF AUTHORITY

     Mandamus, prohibition and injunction against judges are drastic
     and extraordinary remedies. . . These remedies should be resorted
     to only where appeal is a clearly inadequate remedy. We are
     unwilling to utilize them as a substitute for appeal. As
     extraordinary remedies, they are reserved for really extraordinary
     causes.”

Ex parte Fahey, 332 U.S. 258, 259–60, 67 S. Ct. 1558, 1559, 91 L. Ed.

2041 (1947)($50,000 judgment against a $26M association was not




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extraordinary situation) Accordingly, "[t]he writ of mandamus is not to

be used when the most that could be claimed is that the district courts

have erred in ruling on matters within their jurisdiction." Schlagenhauf

v. Holder, 379 U.S. 104, 112, 85 S.Ct. 234, 13 L.Ed.2d 152 (1964).

Rather, "only exceptional circumstances amounting to a judicial

usurpation of power will justify the invocation of this extraordinary

remedy." Will v. United States, 389 U.S. 90, 95, 88 S.Ct. 269, 19 L.Ed.2d

305 (1967).

     Petitioner asserts that mandamus is appropriate here because

this is just such an extraordinary case. Trial on this six year old

election issues case, involving multiple plaintiffs and multiple Georgia

government defendants, is set to commence on January 9, 2023. Relief

in the case, if granted, could result in an injunction against the use of

the current Georgia Dominion BMD election system, resulting in major

impact to the State of Georgia, redirection of the prerogatives of the

executive branch of state government by the federal judiciary, and




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significant influence upon the conduct of both state and federal

elections in the upcoming cycle and subsequent cycles.

      Absent mandamus, Petitioner Davis will be DENIED the chance

to present his evidence of forensic vulnerabilities analytics, irregular,

remote system access and live election system manipulation to the fact-

finder at trial, and waiting for an appeal following judgement, and

potential retrial of a six year case, is not a realistic or practicable

remedy for the Petitioner or Defendants given the facts and issues of

this case.

      No doubt a District Court’s ruling excluding evidence, by itself,

would likely not justify mandamus, and could be addressed by post-trial

appeal. What makes this situation different, and mandamus

appropriate, is the burden that such post judgment relief may place on

Petitioner, the State of Georgia, the executive branch of state

government, and the citizens of Georgia.

      Courts, including the United States Supreme Court, have found

cases involving large questions of public importance of particularly




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appropriate for mandamus, even where there is otherwise a right of

post-trial appeal.

     The rule deducible from the later decisions, and which we now
     affirm, is that this court has full power in its discretion to issue
     the writ of mandamus to a federal District Court, although the
     case be one in respect of which direct appellate jurisdiction is
     vested in the Circuit Court of Appeals—this court having ultimate
     discretionary jurisdiction by certiorari—but that such power will
     be exercised only where a question of public importance is
     involved, or where the question is of such a nature that it is
     peculiarly appropriate that such action by this court should be
     taken. In other words, application for the writ ordinarily must be
     made to the intermediate appellate court, and made to this court
     as the court of ultimate review only in such exceptional cases.

Ex parte U.S., 287 U.S. 241, 248–49, 53 S. Ct. 129, 131, 77 L. Ed. 283

(1932)(absolute right of government to put the accused on trial was a

matter of public importance supporting mandamus to issue bench

warrant) If, as the result of the relief granted by the District Court, the

state is to curtail use of its current Dominion BMD system, such an

enormous impact should only risk being incurred once. Post judgment

appeal of the District Court’s ruling excluding Plaintiff’s evidence would

risk having to put the state of Georgia, the Secretary of State’s office,

and every county election superintendent of every one of Georgia’s 159




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counties once again into legal jeopardy of their means of effecting

constitutionally-adequate federal and state elections. Such a burden

should be imposed only once in this case. Considering the present issue

via mandamus would mean the District Court only has to risk such an

enormous impact on Georgia’s elections systems only one time.

     Turning to the issues before this court, the District Court

conducted its consideration of the proposed pretrial order and

Petitioner’s Motion to Amend under Rule 16. “Rule 16 F.R.Civ.P. gives

the trial court broad discretion in conducting pre-trial procedures in

order to narrow the issues, reduce the field of fact controversy for

resolution, and to simplify the mechanics of the offer and receipt of

evidence.” Pac. Indem. Co. v. Broward Cnty., 465 F.2d 99, 103 (5th Cir.

1972) The discretion of a judge to exclude evidence in a pretrial

conference under Rule 16 is not unrestrained, as “in the interest of

justice and sound judicial administration, an amendment of a pretrial

order should be permitted where no substantial injury will be

occasioned to the opposing party, the refusal to allow the amendment




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might result in injustice to the movant, and the inconvenience to the

court is slight.” United States v. Varner, 13 F.3d 1503, 1507 (11th Cir.

1994)

A.      The court erred in rejecting witness additions that Mr.

        Davis sought, by incorrectly assuming they could provide

        no relevant first-hand testimony despite the court having

        no evidence that would indicate the witnesses could

        provide no first-hand testimony.

        Petitioner Davis explained that he sought to call for good cause

and without prejudice two (2) fact witnesses, Ben Cotton and Jeffrey

Lenberg, who were previously deposed so they may show the Court non-

speculative, non-duplicative forensic and testing evidence of

constitutional deficiencies in Georgia’s Dominion BMD Voting System.

        The court confirmed the same scope of the issues for trial in its

November 10, 2023 Summary Judgement order stating: “Quite simply,

the Court has the legal authority to identify constitutional deficiencies

with the existing voting system, but it does not have the power to




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prescribe or mandate new voting systems to replace the current,

legislatively enacted system.” Exh. 4, p.5

     Mr. Davis sought to include evidence within the scope of authority

the court set for trial, and to which no Defendants filed an opposition,

but it was nonetheless rejected by the court. Rather than accept the

explanation of witness testimony from Mr. Davis at face value as the

court has done with other Plaintiffs, the court rejected his motion based

on its own speculation and conjecture inferred from a single pre-trial

conference statement as explained in the court’s order. Ex. 10, p.10

     The court clearly erred in rejecting the request by Mr. Davis for

Mr. Cotton to testify given that the contention by Mr. Davis that Mr.

Cotton could provide “factual forensic evidence” of constitutional

deficiencies remains unchallenged. Plaintiff David contends that the

computer related factual forensic evidence that Mr. Cotton, a credential

forensic examiner, can provide represents firsthand factual evidence of

how the Dominion BMD Voting System was set up and how it behaves

during Georgia’s elections. This evidence will show that the system was




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actually vulnerable to irregular remote access despite Defendant’s

claimed security protocols.

     Furthermore, the Court falsely assumed that all of Jeffrey

Lenberg’s testimony was second hand simply because he explained that

he had only second- hand knowledge of a conversation Misty Hampton

had with a Dominion Voting Systems representative. Such an

expansive inference is not reasonable.

     Mr. Lenberg, the record shows, is a former nation state

vulnerability professional with 37 years of experience, who worked at

Sandia National Laboratories in New Mexico and tested software for

the U.S. Dept of Energy. Ex. 3, p. 20, 321 He can provide factual

testimony of how testing of the Dominion Election Management Server

identified and reproduced a partisan ballot rejection problem discovered

by Misty Hampton and other Coffee County election officials during the

2021 U.S. Seante runoff.

     Mr. Davis explained that his previously deposed fact witnesses

have not been accused by any governing jurisdiction of any wrongdoing




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from investigations into activities taken by Coffee County election

personnel after the Dominion BMD Voting System failed to count the

2020 election results correctly, Dominion BMD Voting System

personnel provided no explanation for the inaccuracies and nobody from

the Secretary of State’s office offered assistance when requested.

     Any further speculative claims of whether any witness engaged in

criminal wrongdoing are matters for a criminal case in the appropriate

court, not a basis to exclude evidence in this civil case before the district

court. Attempts to bar the witnesses from testifying based on such

speculative claims create an inference of guilt which the court has

already rejected for 5th amendment testimony in the same order

denying the effort by Mr. Davis to call the above witnesses. Ex. 10, p. 2.

B.   The court erred and evinced an improper bias by narrowly

     constraining designated depositions and fact witnesses

     that Mr. Davis sought while binding him to trial

     presentations by other Plaintiffs, rather than the

     constitutional deficiency issues that the court set for trial.




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     Mr. Davis sought to add two (2) previously deposed fact witnesses

and designated deposition for four (4) witnesses already in the Plaintiffs

Joint Deposition Designations to directly address the Defendants’ key

claim as stated in their Mandamus that: “Plaintiffs maintain their

claims despite failing to produce a single piece of evidence that any BMD

has actually been hacked or that any vote has actually been changed”.

Ex. 11, p. 5. This claim by Defendants is not addressed by other

Plaintiffs theories that the court attempts to use to bind arguments of

Mr. Davis.

     As previously explained, the court clearly set “constitutional

deficiencies with the existing system” as the scope of the issues for trial

in its Summary Judgement order. Mr. Davis sought to include

designated depositions within the scope of trial issues, to which the

Defendants filed no opposition. Nevertheless, the motion rejected by

the court.

     Rather than accept the motion by Mr. Davis as consistent with the

court’s issues set for trial, the court erred and showed apparent




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extrajudicial bias by narrowly constraining and arbitrarily binding the

limited evidence sought for inclusion by Mr. Davis to new “theories,

narratives or presentations of evidence” at odds with the very issues the

court set for trial.

      The court’s attempt to bind the limited evidence Mr. Davis sought

to add to the record according to narrow theories offered by other

Plaintiffs is directly counter to its own November 10, 2023 order where

it acknowledged “the broad evidentiary scope” of the case, the “broader

risks” flowing from specific vulnerabilities outlined by Dr. Halderman

and the “Plaintiffs broader challenge to the BMD system”.5 Ex. 4, pp. 3,

41, 114

      Furthermore, interpretations of any such new “theories, narratives

or presentations of evidence” by other Plaintiffs as outside the scope of

trial is inconsistent with the Court’s recognition that facts non-existent


5
 Moreover, the Court’s reference to its reasoning in Dkt. 1724 (Ex. 12, p.
12) is not applicable to the present issue; the prior issue involved the
offering new trial experts beyond the disclosure date where no written
expert report had been previously exchanged. The present request is
simply to add two fact witnesses who have already been deposed.



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both at the inception of this case in 2017 and at the time of amended

complaints filed by both sets of Plaintiffs in 2019 are implicated in the

issues for trial.6 Ex. 4, p. 2

      The court established with its Summary Judgement order that

irregular access of the Coffee County server occurred in January of

2021. The order highlighted that constitutional deficiency in great

detail. No other new “theories, narratives or presentations of evidence”

are necessary to establish, by evidence of deposed witnesses, that

irregular access as a constitutional deficiency.

      Mr. Davis sought to introduce no new theory, narrative or

evidentiary presentation other than those trial issues related to the

constitutional deficiencies of the Dominion BMD system. His proposed

additional designated depositions and witness testimony are also

squarely within the Plaintiffs’ requested relief since the inception of the




6
 “A plethora of new factual and legal developments emerged along the
way, topped off by breach of the Coffee County election system in early
2021.” Ex. 4, p. 2.



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case in 2017 and the time of the creation of amended complaints in

2019.

        Mr. Davis explained that his designated depositions and requested

fact witnesses are intended to supplement and corroborate testimony

and conclusions of the Curling and Coalition Plaintiffs’ experts, Dr. Alex

Halderman and Dr, Philip Stark, respectively, which Defendants refer

to as speculative. Ex. 8, p. 2, 6

        Mr. Davis further explained that his designated depositions and

requested fact witnesses can show how conclusions found by Dr.

Halderman and Stark manifested in Georgia’s 2021 U.S. Senate runoff

and other elections through security vulnerabilities that led to remotely

initiated irregular access. Forensic and testing evidence indicate that

such access occurred despite claims by the vendor and Defendants that

the voting system is not connected to the Internet and has no wireless

access capability. Ex. 8, p.6

        The deposition designations Mr. Davis sought provide further

evidence of involvement by the vendor in the remote irregular access




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occurring on the evening of the January 5, 2021 U.S. Senate runoff

when an onsite technician in Coffee County, Georgia called Dominion’s

Scott Tucker regarding a partisan ballot scanning rejection problem and

the system was remotely reconfigured without physical access to the

scanner or server equipment. Ex. 8, pp.2, 6

      These designated depositions that Mr. Davis sought to add to the

record are directly relevant and supportive of voting system security

concerns raised by all Plaintiffs and there is no legitimate dispute

whether it is in the best interests of all Plaintiffs to be included.

      Furthermore, inclusion of Petitioner Davis’ evidence is fully

consistent with the concern continually demonstrated by the court for

the broader security issues involved with the Dominion BMD system as

noted in its February 11, 2022 order and its June 24, 2022 order where

the court recognized that Dr. Halderman’s September 21, 2021

declaration should be shared with the Cybersecurity and Infrastructure

Security Agency (CISA). Ex. 14, Ex. 15, p.2 In that order, the court

expressed concern for the broad vulnerabilities that Dr. Halderman had




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uncovered stating: “…the Court is concerned that if the report were

disclosed in the form proposed by Plaintiffs and/or Defendants, it could

potentially provide a roadmap for hacking to individuals or entities both

foreign and domestic who may seek to exploit potential vulnerabilities in

the State’s election software”. CISA conducted an assessment and review

after the court’s order and its findings of broad vulnerabilities in the

Dominion BMD system are outlined in its June 4, 2022 CISA Advisory

notice. The first hand factual and forensic evidence Mr. Davis sought to

bring forward is consistent with these court orders as well as the CISA

findings, and can corroborate that some vulnerabilities CISA found

manifested in actual Georgia elections.

     Since he first requested the list of witnesses, exhibits, motions,

objections and designated depositions when it was initially produced on

November 20, 2023, Mr. Davis has tailored his motions so as not to

delay the trial that he and his fellow Plaintiffs and the Defendants have

long sought.




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     The district court previously denied Mr. Davis the counsel of his

choice for trial in large part using the same reasoning that would

constrain him to the identical presentation of evidence as offered by

other Plaintiffs. Ex. 12 Petitioner Davis submits that limiting his

right to the control of presentation of his case based on notions of

cohesiveness among the Plaintiffs’ counsel to the prejudice of his case

exceeds the discretion given to the Court to control the orderly

presentation of cases before it. Such reasoning also could engender a

perception of bias against Mr. Davis, who is the only black and only

conservative Plaintiff in this case, rather than a dispassionate

consideration of the evidence and legal merits. This Court is without

jurisdiction to consider the criminality of either Dominion’s agents or

public servants.

C.   The District Court exceeded its discretion by excluding

     Petitioner’s trial witnesses and deposition designations.

     In the present case, there is no demonstrable injury to the

opposing party. As stated above, the trial Court imposed an expansive




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and unjustifiable supposition that all of the witnesses’ testimony would

be based on inadmissible hearsay. Ex. 10, p. 11 To the extent that any

particular statement is based on hearsay or otherwise objectionable,

those issues can easily be handled by a contemporaneous objection for

resolution by the court during testimony. There is no evidence in the

record that such a process would be unworkable or even difficult.

     Furthermore, testimony by Lenberg and Cotton cannot be unfair

to the Defendants because they were actually deposed in the case

during the discovery period, and the Defendants had full opportunity to

ask any questions within the scope of permissible discovery.

Defendants have not objected that they were not given such

opportunity.

     By comparison, disallowing the testimony of Lenberg and Cotton

could result in great injustice to Petitioner Davis, as he would be denied

the chance to present what simple logic would dictate is the very best

evidence that the Dominion BMD suffers from unconstitutional

infirmity – evidence that actual irregular intrusion occurred during the




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February 5th elections and the system was manipulated by means of

such intrusion.

     The inconvenience to the court here is slight, as at least one of the

witnesses was already on the Defendant’s “may call” list, and both of

them were deposed and are not new witnesses requiring a chance for

adequate investigation and disclosure. In the context of the case, the

addition of a mere two witnesses requires little more commitment of

court time or effort. Any possible lack of cohesion among the Plaintiffs

is primarily an irrelevant consideration, but even if true, completely

speculative.

     The District Court’s conclusion that the Petitioner is attempting to

add a new theory is unsustainable based upon its prior rulings on the

scope of the trial and the issues already developed in the case.

     Furthermore, a notion that the other Plaintiffs may object to a co-

Plaintiff’s choice to present certain evidence, is not a sufficient basis to

deny the Petitioner the opportunity to present a case he has waited six

long years to present.




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                   CONCLUSION AND RELIEF SOUGHT

     Petitioner prays that this Court issue a writ of mandamus

compelling the District Court to vacate that portion of its Order (Ex. 10)

denying Petitioner’s motion to amend the Pre Trial Order and to include

the Petitioner’s witnesses Cotton and Lenberg, and Petitioner’s

additional Deposition Designations in the Pre Trial Order.

     Respectfully submitted this 27th day of December, 2023.

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                 CERTIFICATION OF COMPLIANCE

I certify that this brief complies with the type-volume limitations set

forth in FRAP 32(a)(7)(B). This brief contains 4,127 words.

     Respectfully this 27th day of December, 2023.

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                             ADDENDUM 1
                           LIST OF EXHIBITS

Exh.                           Description                        Trial Docket

1.        Coalitions Plaintiffs’ First Supplemental                   628
          Amended Complaint

2.        Deposition of Benjamin R. Cotton                            1607

3.        Deposition of Jeffrey E. Lenberg                            1613

4.        Order on Motions for Summary Judgment                       1705

5.        Proposed Pretrial Order                                     1728

6.        Motion to Amend Proposed Pre Trial Order                    1737

7.        Affidavit of Ricardo Davis                                 1737-1

8.        Motion to Amend Proposed Pretrial Order                     1740

9.        Transcript of Proceedings before the District               1747
          Court on December 15, 2023

10.       Order on Motion to Amend PPO                                1749

11.       Defendants Petition for Mandamus                           1750-1

12.       Order on Motion to Withdraw                                 1724

13.       Motion to Withdraw Counsel                                  1718




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14.    Order of February 11, 2022                                  1315

15.    Order of June 24, 2022                                      1406




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